              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
              CIVIL CASE NO. 2:13-cr-0009-17-MR-DLH


UNITED STATES OF AMERICA,        )
                                 )
     vs.                         )                    ORDER
                                 )
JAMES HOMER TAYLOR               )
________________________________ )


     THIS MATTER is before the Court on the Defendant’s pro se Motion

for Reduction of Sentence filed pursuant to 18 United States Code §

3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014).

[Doc. 404].

     The Probation Office has submitted a supplement to the Defendant’s

Presentence Report (“PSR”) in this matter. [Doc. 410]. Based thereon, the

Court determines that the United States Attorney and the Federal

Defenders of WNC, Inc., should provide the Court with their respective

positions regarding the PSR supplement.

     IT IS, THEREFORE, ORDERED that no later than thirty (30) days

from the entry of this Order, the United States Attorney and the Federal

Defenders of WNC, Inc., shall file pleadings responsive to the Probation

Officer’s PSR supplement filed in this matter.



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  IT IS SO ORDERED.

                             Signed: January 23, 2015




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